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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

vs.                                               NO. 4:04CR00282-03 GTE

WILLIE JAMES JONES

                                   ORDER AND JUDGMENT

         The above entitled cause came on for hearing on the Petition to Revoke Supervised

Release filed by the Government on March 16, 2007. The Defendant admitted the allegations

contained in the Violation Memorandum were true during the hearing, therefore the Court finds

that Defendant, Willie James Jones, violated the conditions of his supervised release without just

cause.

         IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release granted

this Defendant, Willie James Jones, on July 7, 2006, be, and it is hereby, REVOKED.

         IT IS FURTHER ORDERED that the defendant serve a period of imprisonment of

TWELVE (12) MONTHS in the custody of the Bureau of Prisons. The Court recommends the

defendant participate in non-residential substance abuse treatment and educational and vocational

programs during incarceration.

         A period of supervised release of Eighteen (18) Months is imposed to begin upon release

from defendant’s term of imprisonment.

         During supervised release the defendant shall participate, under the guidance and

supervision of the probation officer, in a substance abuse treatment program which may include

testing, outpatient counseling, and residential treatment. Further, the defendant shall abstain

from the use of alcohol throughout the course of treatment.
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           The defendant shall cooperate in the collection of DNA as directed by the probation

officer.

           The defendant shall disclose financial information upon request of the U.S. Probation

office, including, but not limited to, loans, lines of credit and tax returns. This also includes

records of any business with which the defendant is associated. No new lines of credit shall be

established without prior approval of the U.S. Probation office.

           Restitution of $22,429.37 is mandatory and is payable during incarceration and

supervised release. During incarceration the defendant will pay 50% per month of all funds that

are available to him. During community confinement placement, payments will be reduced to

10% of the defendant’s gross monthly income. Beginning the first month of supervised release,

payments will be 10% per month of the defendant’s monthly gross income. The interest is

waived pursuant to 18 U.S.C. § 3612.

           The Defendant is remanded to the custody of the United States Marshal.

           IT IS SO ORDERED this 23rd day of May, 2007.

                                                       __/s/ Garnett Thomas Eisele_________
                                                       UNITED STATES DISTRICT JUDGE
